                           NOT FOR PUBLICATION                           FILED
                   UNITED STATES COURT OF APPEALS                         FEB 25 2021
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

VIRGINIA DUNCAN; RICHARD LEWIS;                 No.   19-55376
PATRICK LOVETTE; DAVID
MARGUGLIO; CHRISTOPHER                          D.C. No.
WADDELL; CALIFORNIA RIFLE &                     3:17-cv-01017-BEN-JLB
PISTOL ASSOCIATION, INC., a California          Southern District of California,
corporation,                                    San Diego

                Plaintiffs-Appellees,           ORDER

 v.

XAVIER BECERRA, in his official capacity
as Attorney General of the State of
California,

                Defendant-Appellant.



THOMAS, Chief Judge:

      Virtual en banc oral argument will take place during the week of March 22,

2021. The date and time will be determined by separate order. For further

information or special requests regarding scheduling, please contact Deputy Clerk

Paul Keller at paul_keller@ca9.uscourts.gov or (206) 224-2236.

      Within seven days from the date of this order, the parties shall forward to the

Clerk of Court eighteen additional paper copies of the original briefs and ten

additional paper copies of the excerpts of record. The paper copies must be
accompanied by certification (attached to the end of each copy of the brief) that the

brief is identical to the version submitted electronically. A sample certificate is

available at

http://www.ca9.uscourts.gov/datastore/uploads/cmecf/Certificate-for-Brief-in-

Paper-Format.pdf. The paper copies shall be printed from the PDF version of the

brief created from the word processing application, not from PACER or Appellate

ECF.




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